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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                         Chapter 7

    THE ART INSTITUTE OF PHILADELPHIA                              Case No. 18-11535 (CTG)
    LLC, et al.,2
                                                                   Jointly Administered
                          Debtors.
    _______________________________________
    GEORGE L. MILLER, Chapter 7 Trustee,

                                     Plaintiff,                    Adv. Pro. No. 20-50627 (CTG)
                                v.
                                                                   Ref. Adv. Docket Nos. 87, 93, 98, 102
    TODD S. NELSON, et al.,

                                     Defendants.




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  The Debtors are the following entities (the last four digits of their respective taxpayer identification numbers follow
in parentheses): American Education Centers, Inc. (6160); Argosy Education Group, Inc. (5674); Argosy University
of California LLC (1273); Brown Mackie College - Tucson, Inc. (4601); Education Finance III LLC (2533); Education
Management LLC (6022); Education Management II LLC (2661); Education Management Corporation (9571);
Education Management Holdings II LLC (2529); Higher Education Services II LLC (3436); Miami International
University of Art & Design, Inc. (1065); South Education – Texas LLC (2573); South University of Florida, Inc.
(9226); South University of Michigan, LLC (6655); South University of North Carolina LLC (9113); South University
of Ohio LLC (9944); South University of Virginia, Inc. (9263); South University, LLC (7090); Stautzenberger College
Education Corporation (4675); TAIC-San Diego, Inc. (1894); TAIC-San Francisco, Inc. (9487); The Art Institutes
International Minnesota, Inc. (6999); The Art Institute of Atlanta, LLC (1597); The Art Institute of Austin, Inc. (3626);
The Art Institute of California-Hollywood, Inc. (3289); The Art Institute of California-Inland Empire, Inc. (6775);
The Art Institute of California - Los Angeles, Inc. (4215); The Art Institute of California-Orange County, Inc. (6608);
The Art Institute of California-Sacramento, Inc. (6212); The Art Institute of Charleston, Inc. (6048); The Art Institute
of Charlotte, LLC (4912); The Art Institute of Colorado, Inc. (3062); The Art Institute of Dallas, Inc. (9012); The Art
Institute of Fort Lauderdale, Inc. (0255); The Art Institute of Houston, Inc. (9015); The Art Institute of Indianapolis,
LLC (6913); The Art Institute of Las Vegas, Inc. (6362); The Art Institute of Michigan, Inc. (8614); The Art Institute
of Philadelphia LLC (7396); The Art Institute of Pittsburgh LLC (7441); The Art Institute of Portland, Inc. (2215);
The Art Institute of Raleigh-Durham, Inc. (8031); The Art Institute of St. Louis, Inc. (9555); The Art Institute of San
Antonio, Inc. (4394); The Art Institute of Seattle, Inc. (9614); The Art Institute of Tampa, Inc. (6822); The Art Institute
of Tennessee-Nashville, Inc. (5359); The Art Institute of Virginia Beach LLC (2784); The Art Institute of Washington,
Inc. (7043); The Art Institutes International II LLC (9270); The Illinois Institute of Art at Schaumburg, Inc. (3502);
The Illinois Institute of Art, Inc. (3500); The Institute of Post-Secondary Education, Inc. (0283); The New England
Institute of Art, LLC (7798); The University of Sarasota, Inc. (5558);Western State University of Southern California
(3875).



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                                             ORDER

        AND NOW, this __ day of April, 2022, it is hereby ORDERED that, on or before May

16, 2022, Plaintiff may file an omnibus memorandum in opposition to Defendants’ motions to

dismiss the First Amended Complaint, which shall not exceed 90 pages. It is further ORDERED

that Defendants may file their respective replies in support of their motions to dismiss within 30

days of the filing of Plaintiff’s omnibus memorandum.




     Dated: April 12th, 2022              CRAIG T. GOLDBLATT
     Wilmington, Delaware                 UNITED STATES BANKRUPTCY JUDGE




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